      Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 1 of 21



David H. Krieger, Esq.
Nevada Bar No. 9086
HAINES & KRIEGER, LLC
8985 S. Eastern Ave., Suite 350
Henderson, NV 89123
Phone: (702) 880-5554
FAX: (702) 385-5518
Email: dkrieger@hainesandkrieger.com

Attorney for Plaintiff
LEISA WHITTUM

                     UNITED STATES DISTRICT COURT
                          DISTRICT OF NEVADA

                                           :
LEISA WHITTUM,                             : Civil Action No.: ______
                                           :
                    Plaintiff,             :
      v.                                   :
                                           :
SNAPFINANCE INC.,                          : COMPLAINT
                                           :
                    Defendant.             :
                                           :


      For this Complaint, the Plaintiff, LEISA WHITTUM, by undersigned

counsel, states as follows:

                                  JURISDICTION

      1.     This action arises out of Defendant’s repeated violations of the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), and the

harassment of Plaintiff by the Defendant and its agents in their illegal efforts to

collect a consumer debt and jurisdiction is therefore proper in this Court pursuant
      Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 2 of 21



to 28 U.S.C. § 1331.

      2.     Further, Defendant negligently, knowingly, and/or willfully placed

automated calls to Plaintiff’s cellular phone in violation of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”) thereby invading

Plaintiff’s privacy. Plaintiff alleges as follows upon personal knowledge as to

Plaintiff and Plaintiff’s own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by Plaintiff’s attorneys.

      3.     Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367 and this

Court has original jurisdiction over Plaintiff’s TCPA and state law claims. Mims v.

Arrow Fin. Serv., LLC, 132 S. Ct. 740 (2012).

      4.     This action is also brought under Nevada Revised Statutes Chapter

598.0918 (“NRS 598”) and Nevada Revised Statutes Chapter 41.600 et seq. (“NRS

41.600”) for Defendant’s deceptive trade practices as further described herein.

      5.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) &

(c), because Plaintiff resides within the District of Nevada, a substantial portion of

the events or omissions giving rise to the claim occurred in this District, and

Defendant regularly conducts business in this District.

                                     PARTIES

      6.     The Plaintiff, LEISA WHITTUM (“Plaintiff” or “Ms. Whittum”), is

an adult individual residing in Las Vegas, Nevada, and is a “consumer” as the term
        Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 3 of 21



is defined by 15 U.S.C. § 1692a(3).

        7.    Plaintiff is, and at all times mentioned herein was, a “person” as

defined by 47 U.S.C. § 153 (39).

        8.    Defendant SNAPFINANCE INC. (“SNAPFINANCE”), is doing

business in the State of Nevada as a business entity operating as a collection

agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

        9.    Defendant is and at all times mentioned herein was, a corporation and

is a “person,” as defined by 47 U.S.C. § 153 (39).

        10.   SNAPFINANCE at all times acted by and through one or more of its

debt collectors or other agents (the “Collectors”).

               ALLEGATIONS APPLICABLE TO ALL COUNTS

                                      The Debt

        11.   Plaintiff allegedly incurred a financial obligation (the “Debt”) to

CASH 1, LLC (the “Creditor”).

        12.   The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes and which meets the

definition of a “debt” under 15 U.S.C. § 1692a(5).

        13.   The Debt was purchased, assigned or transferred to SNAPFINANCE

for collection, or SNAPFINANCE was employed by the Creditor to collect the

Debt.
      Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 4 of 21



      14.    The Defendant attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

              SNAPFINANCE Engages in Illegal Collection Tactics

                                      FACTS

      15.    Struggling to meet her financial obligations and due to work hours

having been cut without notice, the Plaintiff defaulted on her obligation to CASH

1, LLC on or about June 24, 2016 when the Plaintiff missed her scheduled

payment and defaulted.

      16.    The Debt was thereafter purchased, assigned or transferred to

SNAPFINANCE for collection, or SNAPFINANCE was employed by CASH 1,

LLC to collect the Debt.

      17.    As a debt collector, SNAPFINANCE’s rights were no greater than

CASH 1, LLC’s rights to enforce and/or collect the Debt.

      18.    In late June 2016 and again on June 30, 2016, the Plaintiff instructed

CASH 1, LLC to stop calling her cell phone.

      19.    Despite Plaintiff’s requests and her revocation of consent (if any ever

existed to call her at all, let alone her cell phone), SNAPFINANCE continued to

call Plaintiff attempting to collect the debt. Indeed, SNAPFINANCE acted as

though the cease and desist requests had not happened, entirely ignoring the

Plaintiff’s requests.
      Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 5 of 21



       20.    On or about July 1, 2016, Plaintiff retained the services of an attorney

to assist her with managing her obligations, like the debt owed to CASH 1, LLC,

and to assist her in ending the harassment she was enduring as a result of

SNAPFINANCE’s debt collection practices.

       21.    Within twenty-four (24) hours after retaining counsel, Plaintiff

contacted SNAPFINANCE and instructed SNAPFINANCE to stop calling her and

told SNAPFINANCE that she was represented by an attorney.

       22.    The Plaintiff also provided SNAPFINANCE with her attorney’s

contact information.

       23.    On or about July 2, 2016, SNAPFINANCE contacted the Plaintiff to

collect the Debt and Plaintiff again instructed SNAPFINANCE to contact her

attorney only and to stop calling the Plaintiff.

       24.    Notwithstanding SNAPFINANCE’s notice of Plaintiff’s attorney

representation, SNAPFINANCE continued communications with the Plaintiff and

continued calling her, in violation of her requests, in it’s attempt to collect the Debt.

       25.    In fact, even after the above, SNAPFINANCE placed numerous

collection calls to the Plaintiff’s cell phone on a daily basis to collect the Debt.

       26.    On several occasions, SNAPFINANCE called the Plaintiff’s cell

phone multiple times on the same day to try to collect the debt by harassing and

annoying the Plaintiff.
      Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 6 of 21



      27.     Plaintiff’s repeated requests to SNAPFINANCE to cease calling her

and direct communications to her attorney were to no avail; the abusive and

annoying calls continued.

      28.     Specifically, SNAPFINANCE placed at least the following calls to

Plaintiff’s cellular phone after her demands that SNAPFINANCE cease calling her

cell phone:

              • June 28, 2016 at 11:51 a.m. CDT

              • June 28, 2016 at 2:33 p.m. CDT

              • June 28, 2016 at 4:04 p.m. CDT

              • June 29, 2016 at 10:23 a.m. CDT

              • June 29, 2016 at 5:11 p.m. CDT

              • June 30, 2016 at 10:14 a.m. CDT

              • June 30, 2016 at 3:13 p.m. CDT

              • June 30, 2016 at 4:45 p.m. CDT

              • July 1, 2016 at 11:34 a.m. CDT

              • July 1, 2016 at 3:03 p.m. CDT

              • July 1, 2016 at 4:44 p.m. CDT

              • July 5, 2016 at 3:30 p.m. CDT

              • July 6, 2016 at 10:36 a.m. CDT

              • July 6, 2016 at 6:39 p.m. CDT
     Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 7 of 21




           • July 7, 2016 at 10:54 a.m. CDT

           • July 8, 2016 at 12:45 p.m. CDT

           • July 8, 2016 at 2:36 p.m. CDT

           • July 8, 2016 at 5:46 p.m. CDT

           • July 9, 2016 at 10:50 a.m. CDT

           • July 11, 2016 at 10:25 a.m. CDT

           • July 12, 2016 at 11:35 a.m. CDT

           • July 12, 2016 at 1:14 p.m. CDT

           • July 12, 2016 at 3:56 p.m. CDT

           • July 13, 2016 at 3:59 p.m. CDT

           • July 14, 2016 at 12:03 p.m. CDT

           • July 14, 2016 at 2:11 p.m. CDT

           • July 14, 2016 at 4:33 p.m. CDT

           • July 15, 2016 at 12:42 p.m. CDT

           • July 15, 2016 at 3:05 p.m. CDT

     29.   This lawsuit results.

                      Plaintiff Suffered Actual Damages

     30.   The Plaintiff has suffered and continues to suffer actual damages as a

result of SNAPFINANCE’s unlawful conduct.

     31.   As a direct consequence of Defendant’s acts, practices and conduct,
         Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 8 of 21



the Plaintiff suffered and continues to suffer from anger, anxiety, emotional

distress, frustration, rage, headaches, an upset stomach, heart palpitations, and has

otherwise been totally annoyed by Defendant’s intrusive and illegal collection

calls. Plaintiff has also lost the use of personal and family time while enduring

these frustrations, as well as lost time and minutes from cell phone use, for which

the Plaintiff is charged a fee.

                           Respondeat Superior Liability

         32.   The acts and omissions of SNAPFINANCE, and the other debt

collectors employed as agents by SNAPFINANCE who communicated with Plaintiff

as more further described herein, were committed within the time and space limits of

their agency relationship with their principal, Defendant SNAPFINANCE.

         33.   The acts and omissions by SNAPFINANCE and these other debt

collectors were incidental to, or of the same general nature as, the responsibilities

these agents were authorized to perform by SNAPFINANCE in collecting consumer

debts.

         34.   By committing these acts and omissions against Plaintiff,

SNAPFINANCE and these other debt collectors were motivated to benefit their

principal, Defendant SNAPFINANCE.

         35.   SNAPFINANCE is therefore liable to Plaintiff through the Doctrine of

Respondeat Superior for the intentional and negligent acts, errors, and omissions
      Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 9 of 21



done in violation of state and federal law by its collection employees, including but

not limited to violations of the FDCPA and Nevada tort law, in their attempts to

collect a debt from Plaintiff.

       THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

      36.    In 1991, Congress enacted the TCPA in response to a growing number

of consumer complaints regarding certain telemarketing practices.

      37.    The TCPA regulates, among other things, the use of automated

telephone dialing systems.

      38.    47 U.S.C. § 227(a)(1) defines an automatic telephone dialing system

(“ATDS”) as equipment having the capacity –

             (A) to store or produce telephone numbers to be called,
             using a random or sequential number generator; and

             (B)    to dial such numbers.
      39.    Specifically, 47 U.S.C. § 227(1)(A)(iii) prohibits any call using an

ATDS or an artificial or prerecorded voice to a cellular phone without prior

express consent by the person being called, unless the call is for emergency

purposes.

      40.    According to findings by the Federal Communications Commission

(“FCC”), such calls are prohibited because automated or prerecorded telephone

calls are a greater nuisance and invasion of privacy than live solicitation calls. The
     Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 10 of 21



FCC also recognized that wireless customers are charged for incoming calls. 1

       41.    On January 4, 2008, the FCC released a Declaratory Ruling wherein it

confirmed that autodialed and prerecorded calls to a wireless number by a creditor,

or on behalf of a creditor, are permitted only if the calls are made with the “prior

express consent” of the called party. 2

       42.    On July 10, 2015, the FCC issued FCC Order 15-72, wherein the

FCC 3 stated that “[a] caller may not limit the manner in which revocation [of prior

express consent to call] may occur” and that the “burden is on the caller to prove it

obtained the necessary prior express consent”. Id. at ¶ 30.

       43.    Further, consumers (like the Plaintiff) may revoke consent through

any reasonable means. Id. at ¶ 47.

       44.    Nothing in the language of the TCPA or its legislative history

supports the notion that Congress intended to override a consumer’s common law

right to revoke consent. Id. at ¶ 58.




1
 Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003).
2
 In the Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act
of 1991, 23 F.C.C.R. 559, 23 FCC Rcd 559, 43 Communications Reg. (P&F) 877, 2008 WL
65485 (F.C.C.) (2008).
3
  See Declaratory Ruling and Order, Adopted June 18, 2015 and Released July 10, 2015
regarding In the Matter of Rules and Regulations Implementing the Telephone Consumer
Protection Act of 1991, CG Docket No. 02-278, WC Docket No. 07-135
(https://apps.fcc.gov/edocs_public/attachmatch/FCC-15-72A1.pdf).
     Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 11 of 21



       45.     Indeed, some consumers may find unwanted intrusions by phone more

offensive than home mailings because they can cost them money and because, for

many, their phone is with them at almost all times. Id. at ¶ 61.

       46.     Consumers have a right to revoke consent, using any reasonable

method including orally or in writing. Id. at ¶ 64.

               ALLEGATIONS APPLICABLE TO ALL COUNTS
       47.     Within the four years prior to filing the instant complaint, the Plaintiff

received numerous calls from the Defendant from the following phone numbers:

(XXX)-XXX-0389, (XXX)-XXX -8539, and XXX-XXX-6640.

       48.     Upon information and belief, Defendant employs an automatic

telephone dialing system (“ATDS”) which meets the definition set forth in 47 U.S.C.

§ 227(a)(1).

       49.     In the calls that Plaintiff did answer, there would be a short pause

lasting about two to three seconds between the time the calls were answered and the

time that a live agent introduced themselves as a representative from Defendant.

       50.     Upon information and belief, based on the pause and lack of prompt

human response during the phone calls in which Plaintiff answered, Defendant used a

predictive dialing system to place calls to Plaintiff.

       51.     “A predictive dialer is equipment that dials numbers and, when certain

computer software is attached, also assists [caller] in predicting when an [agent] will
     Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 12 of 21



be available to take calls. The hardware, when paired with certain software, has the

capacity to store or produce numbers and dial those numbers at random, in sequential

order, or from a database of numbers.” Meyer v. Portfolio Recovery Associates, LLC,

707 F.3d 1036, 1043 (9th Cir. 2012).

      52.    The FCC has determined that predictive dialing systems are a form of

an automatic telephone dialing system. Id.

      53.    Upon information and belief, the predictive dialing system employed by

Defendant transfers the call to a live agent once a human voice is detected, thus

resulting in a pause after the called party speaks into the phone.

      54.    Defendant or its agent/s contacted Plaintiff on Plaintiff’s cellular

telephone number ending in “0708” via an ATDS as defined by 47 U.S.C. §

227(a)(1), as prohibited by 47 U.S.C. § 227(b)(1)(A).

      55.    In early June 2016 and again on June 30, 2016, the Plaintiff instructed

CASH 1, LLC (the underlying creditor) to stop calling her and thereby revoked her

consent.

      56.    The Plaintiff’s revocation was binding on successors in interest to the

Debt such as SNAPFINANCE.

      57.    Even so, on or about June 28, 2016, Plaintiff instructed

SNAPFINANCE or its agent(s) not to call the Plaintiff’s cell phone ever again
     Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 13 of 21



thereby revoking consent, which no longer existed in any event resulting from the

CASH 1 revocation, to be contacted by Defendant via an ATDS.

      58.    On or about July 1, 2016, in addition to advising Defendant to send all

future communications through her counsel, Plaintiff once again (second time)

instructed SNAPFINANCE or its agent(s) not to call the Plaintiff’s cell phone ever

again thereby again revoking consent to be contacted by Defendant via an ATDS.

      59.    On or about July 7, 2016, Plaintiff once again (third time) instructed

Defendant SNAPFINANCE or its agent(s) not to call the Plaintiff’s cell phone ever

again thereby revoking consent to be contacted by Defendant via an ATDS.

      60.    However, Defendant placed calls to the Plaintiff’s cellular telephone

without consent using an ATDS in violation of the TCPA.

      61.    Defendant’s ATDS has the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

      62.    The telephone number that Defendant used to contact Plaintiff was and

is assigned to a cellular telephone service as specified in 47 U.S.C. §

227(b)(1)(A)(iii).

      63.    Defendant’s calls to Plaintiff’s cellular telephone were not for

“emergency purposes.”

      64.    Pursuant to the TCPA and the FCC’s January 2008 Declaratory Ruling,

the burden is on Defendant to demonstrate that it had prior express consent to call
      Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 14 of 21



Plaintiff’s cellular phone with an ATDS.

      65.    The Plaintiff suffered actual harm and loss, since the unwanted calls

depleted the Plaintiff’s cell phone’s battery, and the cost of electricity to recharge the

phone is a tangible harm. While small, this cost is a real one, and the cumulative

effect can be consequential, just as is true for exposure to X-rays resulting from the

Defendant’s unwanted phone calls to the Plaintiff’s cell phone.

      66.    Plaintiff also suffered from an invasion of a legally protected interest by

placing calls to the Plaintiff’s personal phone line when the Defendant had no right to

do so, resulting in an invasion of Plaintiff’s right to privacy. The TCPA protects

consumers from this precise behavior.

      67.    Plaintiff has a common law right to privacy. E.g., Samuel D. Warren &

Louis D. Brandeis, The Right to Privacy, 4 Harv. L. Rev. 1155, 193 (1890).

Congress sought to further protect that right by enacting the TCPA.

      68.    Plaintiff was also personally affected, since the Plaintiff felt that the

Plaintiff’s privacy had been invaded when the Defendant placed calls to the

Plaintiff’s phone line without any consent to do so.

      69.    The injury suffered by Plaintiff is concrete because Defendant’s

violations caused Plaintiff to suffer an invasion of privacy.




///
     Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 15 of 21



                                      COUNT I

                              Violations of the FDCPA
                              (15 U.S.C. § 1692 et seq.)

      70.    The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      71.    The Defendant’s conduct violated 15 U.S.C. § 1692c(a)(2) in that

Defendant contacted the Plaintiff after it knew Plaintiff was represented by an

attorney.

      72.    The Defendant’s conduct violated 15 U.S.C. § 1692d in that

Defendant engaged in behavior the natural consequence of which was to harass,

oppress, or abuse the Plaintiff in connection with the collection of a debt.

      73.    The Defendant’s conduct violated 15 U.S.C. § 1692d(5) in that

Defendant caused the Plaintiff’s phone to ring and/or engaged the Plaintiff in

telephone conversations repeatedly or continuously with the intent to annoy, abuse

or harass the Plaintiff in connection with the collection of a debt.

      74.    The Defendant’s conduct violated 15 U.S.C. § 1692f in that

Defendant used unfair and unconscionable means to collect a debt and attempted to

humiliate and belittle Plaintiff.

      75.    The foregoing acts and omissions of the Defendant constitute

numerous and multiple violations of the FDCPA, including every one of the above-
     Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 16 of 21



cited provisions.

      76.     The Plaintiff is entitled to damages as a result of Defendant’s

violations.

      77.     The Plaintiff has been required to retain the undersigned as counsel to

protect his legal rights to prosecute this cause of action, and is therefore entitled to

an award or reasonable attorneys’ fees plus costs incurred.

                                      COUNT II

                            Negligent Violations of the
                       Telephone Consumer Protection Act,
                               (47 .S.C. § 227, et seq.)
      78.     Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      79.     Defendant negligently placed multiple automated calls to a cellular

number belonging to Plaintiff without Plaintiff’s prior express consent.

      80.     Each of the aforementioned calls by Defendant constitutes a negligent

violation of the TCPA.

      81.     As a result of Defendant’s negligent violations of the TCPA, Plaintiff

is entitled to an award of $500.00 in statutory damages for each call in violation of

the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

      82.     Additionally, Plaintiff is entitled to and seek injunctive relief

prohibiting such conduct by Defendant in the future.
     Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 17 of 21



                                     COUNT III

                    Knowing and/or Willful Violations of the
                     Telephone Consumer Protection Act,
                             (47 .S.C. § 227, et seq.)
      83.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      84.    Defendant knowingly and/or willfully placed multiple automated calls

to a cellular number belonging to Plaintiff without Plaintiff’s prior express consent.

      85.    Each of the aforementioned calls by Defendant constitutes a knowing

and/or willful violation of the TCPA.

      86.    As a result of Defendant’s knowing and/or willful violations of the

TCPA, Plaintiff is entitled to an award of treble damages up to $1,500.00 for each

call in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

      87.    Additionally, Plaintiff is entitled to seek injunctive relief prohibiting

such conduct by Defendant in the future.

                                     COUNT IV

                       Defendant’s Violations of Nevada’s
                         Deceptive Trade Practices Act
                                (NRS 598.0918)

      88.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      89.    “Solicitation” means “the act of . . . seeking to obtain” something – in
     Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 18 of 21



this case money. Solicitation, Black’s Law Dictionary (2d Pocket Ed. 2001).

      90.      Here, the Defendant solicited the Plaintiff to seek or obtain money

from the Plaintiff.

      91.      On March 13, 2001, Assembly Bill 337 (AB 337) was introduced to

the Nevada State Legislature. AB 337 revised Nevada’s Deceptive Trade Practices

statutes codified at NRS 598 et seq.

      92.      As expressed by Marilyn Skibinski, Regulatory Analyst, Bureau of

Consumer Protection, AB 337 was enacted to “provide[] additional protection for

consumers.” See Minutes of the Meeting of the Assembly Committee on Commerce

and Labor, 71st Session, April 4, 2001, page 1082, which can be viewed at

http://www.leg.state.nv.us/Division/Research/Library/LegHistory/LHs/2001/AB33

7,2001.pdf (the “AB 337 Minutes”).

      93.      Further, AB 337 was specifically intended to apply to companies (like

the Defendant) using “automatic calling” or automated dialing systems. As Ms.

Rushton stated in response to Senator Maggie Carlton, “[that] is exactly what [AB

337 is intended to do.” Id. at page 4093.

      94.      In specific, AB 337 made it a deceptive trade practice to, during a

solicitation by telephone, to:

            a. Repeatedly or continuously conduct the solicitation or presentation in
               a manner that is considered by a reasonable person to be annoying,
               abusive or harassing;
            b. Solicit a person by telephone at his or her residence between 8 p.m.
     Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 19 of 21



               and 9 a.m.
            c. Block or otherwise intentionally circumvent any service used to
               identify the caller when placing an unsolicited telephone call; or
            d. Place an unsolicited telephone call that does not allow a service to
               identify the caller by the telephone number or name of the business,
               unless such identification is not technically feasible.

      95.      Specifically, Defendant placed calls to Plaintiff’s residential cell

phone even after the Plaintiff demanded Defendant cease calls to the Plaintiff.

Such conduct is unquestionably harassing and annoying.

      96.      As a direct consequence of Defendant’s harassing phone calls, acts,

practices and conduct, the Plaintiff suffered and continues to suffer from anger,

anxiety, emotional distress, frustration, rage, headaches, an upset stomach, heart

palpitations, and has otherwise been totally annoyed by Defendant’s intrusive and

illegal phone calls. Plaintiff has also lost the use of personal and family time while

enduring these frustrations, as well as lost time and minutes from cell phone use,

for which the Plaintiff is charged a fee.

      97.      Defendant therefore violated NRS 598.0918(2).

      98.      Defendant’s violations of NRS 598.0918 constitute violations of NRS

41.600 and the Plaintiff is entitled to relief under NRS 41.600.

                               PRAYER FOR RELIEF

      WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendant awarding the Plaintiff:
Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 20 of 21



   1. Injunctive relief prohibiting such violations of the TCPA by Defendant

          in the future;

   2. Statutory damages of $500.00 for each and every call in violation of the

          TCPA pursuant to 47 U.S.C. § 227(b)(3)(B);

   3. Treble damages of up to $1,500.00 for each and every call in violation

          of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(C);

   4. Actual damages including, but not limited to, the emotional distress

          the Plaintiff has suffered (and continues to suffer) as a result of the

          intentional, reckless, and/or negligent FDCPA violations pursuant to

          15 U.S.C. § 1692k(a)(1);

   5. Statutory damages of $1,000.00 pursuant to 15 U.S.C.

          §1692k(a)(2)(A);

   6. Actual damages including, but not limited to, the emotional distress

          the Plaintiff has suffered (and continues to suffer) as a result of the

          intentional, reckless, and/or negligent violations of NRS 598.0918 as

          permitted under NRS 41.600;

   7. Punitive damages;

   8. An award of attorney’s fees and costs to counsel for Plaintiff; and



    ///
    Case 2:16-cv-02505-RFB-PAL Document 1 Filed 10/27/16 Page 21 of 21



        9. Such other relief as the Court deems just and proper.

            TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: October 27, 2016

                                            Respectfully submitted,
                                            By: /s/ David H. Krieger, Esq.
                                            David H. Krieger, Esq.
                                            Nevada Bar No. 9086
                                            HAINES & KRIEGER, LLC
                                            8985 S. Eastern Avenue, Suite 350
                                            Henderson, Nevada 89123
                                            Phone: (702) 880-5554
                                            FAX: (702) 385-5518
                                            Email: dkrieger@hainesandkrieger.com

                                            Attorney for Plaintiff
                                            LEISA WHITTUM
